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                                                                                                             UNITED STATES DISTRICT COURT
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                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
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                                                                              United States of America, et al.,                   No. CR 06-0217 DLJ (JL)
United States District Court




                                                                         11
                                                                                            Plaintiffs,
                               For the Northern District of California




                                                                         12
                                                                                     v.                                           NOTICE OF SETTLEMENT
                                                                         13                                                       CONFERENCE AND SETTLEMENT
                                                                              Kenneth Dean Affolter,                              CONFERENCE ORDER
                                                                         14   Amy Teresa Arata
                                                                              Jesse Cole Monko
                                                                         15   Elizabeth Ramirez
                                                                              Camilo Ruiz Rodriguez
                                                                         16   Jaime Alvarez Lopez
                                                                              Barbara Alvarez
                                                                         17   Nathan Manuel Woodard
                                                                              Teresa Rojas,
                                                                         18
                                                                                         Defendants.
                                                                         19   ________________________________/
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                                                                                            TO ALL PARTIES AND COUNSEL OF RECORD:
                                                                         21
                                                                                     PLEASE TAKE NOTICE that this case has been referred for a Settlement
                                                                         22
                                                                              Conference before Magistrate Judge James Larson. The Settlement Conference shall take
                                                                         23
                                                                              place on Wednesday, August 23, 2006 at 2:00 p.m., in Judge Larson’s chambers, located
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                                                                              at the Federal Building, 450 Golden Gate Avenue, 15th Floor, San Francisco, California
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                                                                              94102. If the court-ordered date presents problems for parties or counsel, counsel is
                                                                         26
                                                                              to contact Judge Larson’s chambers directly at (415) 522-2112.
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                                                                              SETTLEMENT CONFERENCE NOTICE                   1
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                                                                         1           Counsel who will try the case or other counsel responsible for the litigation shall
                                                                         2    appear at the Settlement Conference with the parties if possible. Any party who is not a
                                                                         3    natural person shall be represented by an individual not directly involved in the events
                                                                         4    which give rise to the litigation but with full authority to negotiate a settlement.
                                                                         5           At least seven (7) calendar days before the Settlement conference the parties
                                                                         6    shall deliver directly to the magistrate judge two copies of a Confidential Settlement
                                                                         7    Conference Statement which should be lodged with chambers and should not be
                                                                         8    filed with the Clerk of the Court or served upon other parties.
                                                                         9           The Confidential Settlement Conference Statement shall be as brief as possible and
                                                                         10   should rarely exceed 10 pages. It shall include the following:
United States District Court




                                                                         11          1.     A statement of the facts of the case.
                               For the Northern District of California




                                                                         12          2.     A statement of the charges and defenses including.
                                                                         13          3.     A summary of the proceedings to date.
                                                                         14          4.     The party’s position on settlement, including a history of past settlement
                                                                         15   discussions as well as present demands and offers.
                                                                         16          Any request to continue the settlement conference shall be submitted in
                                                                         17   writing after consultation with the opposing party. Submission by facsimile is
                                                                         18   acceptable at facsimile number (415) 522-2140.
                                                                         19          The parties shall notify Magistrate Judge Larson’s chambers immediately if this case
                                                                         20   settles prior to the date set for settlement conference.
                                                                         21
                                                                         22   DATED: August 3, 2006
                                                                         23
                                                                                                                                   __________________________________
                                                                         24                                                             JAMES LARSON
                                                                                                                                      Chief Magistrate Judge
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                                                                              SETTLEMENT CONFERENCE NOTICE                     2
